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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS


 In re:                                         §
 GALLERIA 2425 OWNER, LLC,                      §          Civil Action No. 4:24-cv-04836

                                                §
 Debtor

 ALI CHOUDHRI                                   §        Bankruptcy Case No 23-34815
                                                §
 Appellant                                      §


                                    Record Transmitted
       The bankruptcy clerk has transmitted the record for this appeal to the district court. See
Fed. R. Bankr. P. 8010 (b). Unless the district court orders otherwise, the following deadlines
apply. See Fed. R. Bankr. P. 8018.

1. The appellant’s brief must be filed within 30 days after entry of this notice.

2. The appellee’s brief must be filed within 30 days after service of the appellant’s brief.

3. The appellant may file a reply brief within 14 days after service of the appellee’s brief, but a
   reply brief must be filed at least 7 days before scheduled argument.

Date: April 23, 2025
                                                     Nathan Ochsner, Clerk of Court
                                                     S. Thomas
                                                     Deputy Clerk
